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                                           Paul B. Junius
                                     2603 W Lake Isle Drive
                                        Mequon, Wl 53092

 June 11, 2020                                                                             EOEO¥LS "i\
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 (Revised, please discard prior correspondence)                                                    I 5 2020   !' ihi'
 Clerk of US Dist. Court for the Eastern Division of Virginia                           CLERK,            COUR'

 701 East Broad Street
 Richmond, VA 23219

 RE:    Skochin et al. v. Genworth Life Insurance Company et al.
         Case No.: 3:19-cv-00049-REP
         GLIC Policy No.:       UDG4473791


 Dear Clerk:

         I am objecting to the proposed settlement on the basis that it is not in the best interests
 of the Genworth policyholders. My wife and I have been policyholders since 2003. During that
time, we have experienced multiple rate increases. Given the ongoing public disclosures
regarding the financial condition of Genworth we were not surprised by the need described in
the notices, the size of the increases, nor the options presented to maintain the benefit
features or restructure the policy terms to make it more affordable. As described, this litigation
purports to claim "that Genworth Life Insurance Company ("GLIC") intentionally withheld
material information from policyholders with respect to the full scope and magnitude of GLIC's
rate increase action plans and its reliance on the policyholders paying increased rates to pay
future claims". For the following reasons I disagree with the underlying premise.

        Firstly, within the policy on page 20 there is notice pursuant to a provision entitled
 Renewability-This Policy is Guaranteed Renewable for Life; We have a Limited Right to
 Change Premiums., Exhibit A. This provision expressly informs the policyholder that GLIC may
 increase premiums subject to certain limitations with respect to timeframes regarding notice to
 the policyholders. In fact, there is reference to special consideration if the increase is to exceed
twenty-five percent. There is no indication in the Complaint that GLIC failed to abide by said
 provision.

       Secondly, insurers including GLIC, are very dependent on rates of return on
reserves/surplus to fund claim expenses. For the last 10 or so years interest rates have been
much lower than would have been projected at the time premiums on many of the policies
were being set by the GLIC actuaries. Without the expected returns, revenue increases are
needed to ensure claims can be paid, present and future. Policy sales or existing premiums are
the other primary source of funds available to GLIC. Since GLIC no longer is selling policies,
premiums and premium increases are the primary source of revenues available to offset the
cost of claims.
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                                          Paul B. Junius




          Thirdly, the proposed settlement offers little benefit to the policyholders allegedly
 impacted by the lack of disclosure. Instead it serves to enrich the attorneys representing the
 class in such generous terms that has the potential to further impair GLIC's ability to pay claims
 and potentially survive while providing policyholders with additional disclosures that do little to
 enhance the value of the contract. With respect to attorney fees, I would propose that the Class
 attorneys be paid the proposed $2,000,000 related to the injunctive relief and allowable
 expenses and no contingency payments related to the Special Election Options("Options"). Not
 only is it not beneficial to the class being represented, there is no defined cost associated with
 said Options and any determination of the value of the negotiated disclosures are speculative.
        Having paid into this policy for seventeen years and anticipating paying for many more, I
 am concerned that the proposed settlement makes it more likely that at some future date the
 funds will not be available to GLIC to pay a claim. As indicated above, the proposed level of
 contingency payment assuming a conservative average of $250,000 per claim has a real impact
 on GLIC's ability to pay claims on behalf of no less than forty and up to ninety-eight
 policyholders. I am opposing this proposed settlement because I want to protect myself and
 others from its real impact.

        Thank you for your consideration of the above. I will not be attending, nor be
 represented at the Final Approval Hearing.



                                                      Sincerely,




                                                      Paul B. Junius




 End: Exhibit A




Cc:     Settlement Administrator
